  Case 1:20-cv-00532-LO-MSN Document 20-3 Filed 07/22/20 Page 1 of 3 PageID# 152
TELEPHONE—SOLICITATION—JOINT AND SEVERAL..., 2019 Virginia Laws...




                                          2019 Virginia Laws Ch. 264 (S.B. 1041)

                                          VIRGINIA 2019 SESSION LAW SERVICE

                                                     REGULAR SESSION

                                         Additions are indicated by Text; deletions by
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                                                 stricken material by Text .

                                                 Ch. 264
                                              S.B. No. 1041
                           TELEPHONE—SOLICITATION—JOINT AND SEVERAL LIABILITY

        An Act to amend and reenact §§ 59.1–510, 59.1–515, 59.1–516, and 59.1–517 of the Code of Virginia and to
      amend the Code of Virginia by adding a section numbered 59.1–514.1, relating to the Virginia Telephone Privacy
        Protection Act; joint liability of seller and telephone solicitor for violations; rebuttable presumption created.

                                                   Approved March 8, 2019

                                     Be It Enacted by the General Assembly of Virginia:

1. That §§ 59.1–510, 59.1–515, 59.1–516, and 59.1–517 of the Code of Virginia are amended and reenacted and that the Code
of Virginia is amended by adding a section numbered 59.1–514.1 as follows:

                                                   << VA ST § 59.1–510 >>

                                        § 59.1–510. Definitions; rule of construction
As used in this chapter:

“Established business relationship” means a relationship between the called person and the person on whose behalf the telephone
solicitation call is being made or initiated based on: (i) the called person's purchase from, or transaction with, the person on
whose behalf the telephone solicitation call is being made or initiated within the 18 months immediately preceding the date
of the call or (ii) the called person's inquiry or application regarding any property, good, or service offered by the person on
whose behalf the telephone solicitation call is being made or initiated within the three months immediately preceding the date
of the call.

“Personal relationship” means the relationship between a telephone solicitor making or initiating a telephone solicitation call
and any family member, friend, or acquaintance of that telephone solicitor.

“Responsible person” means either or both of (i) a telephone solicitor or (ii) a seller if the telephone solicitation call
offering or advertising the seller's property, goods, or services is presumed to have been made or initiated on behalf of
or for the benefit of the seller and the presumption is not rebutted as provided in subsection B of § 59.1–514.1.

“Seller” means any person on whose behalf or for whose benefit a telephone solicitation call offering or advertising the
person's property, goods, or services is made or initiated.

“Telephone solicitation call” means any telephone call made or initiated to any natural person's residence in the Commonwealth,
or to any wireless telephone with a Virginia area code or to a wireless telephone registered to any natural person who is


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   Case 1:20-cv-00532-LO-MSN Document 20-3 Filed 07/22/20 Page 2 of 3 PageID# 153
TELEPHONE—SOLICITATION—JOINT AND SEVERAL..., 2019 Virginia Laws...


a resident of the Commonwealth, for the purpose of offering or advertising any property, goods, or services for sale, lease,
license, or investment, including offering or advertising an extension of credit.

“Telephone solicitor” means any person who makes or initiates, or causes another person to make or initiate, a telephone
solicitation call on its own behalf or for its own benefit or on behalf of or for the benefit of a seller.


                                                    << VA ST § 59.1–514.1 >>

        § 59.1–514.1. Joint liability of seller and telephone solicitor for prohibited acts; rebuttable presumption
A. A seller on whose behalf or for whose benefit a telephone solicitor makes or initiates a telephone solicitation call in
violation of any provision of § 59.1–511, 59.1–512, 59.1–513, or 59.1–514 and the telephone solicitor making or initiating
the telephone call shall be jointly and severally liable for such violation.

B. A telephone solicitation call offering or advertising a seller's property, goods, or services shall be presumed to have
been made or initiated on behalf of or for the benefit of the seller, whether or not any agency relationship exists between
the telephone solicitor and the seller, whether or not the seller supervised or directed the conduct of the telephone
solicitor, and whether or not the telephone solicitor is shown to have acted at the seller's direction and request when
making or initiating the telephone solicitation call. The presumption may be rebutted if it is shown by clear and
convincing evidence that the seller did not retain or request the telephone solicitor to make telephone solicitation calls
on the seller's behalf or for the seller's benefit and that the telephone solicitation calls offering or advertising the seller's
property, goods, or services were made by the telephone solicitor without the seller's knowledge or consent.


                                                    << VA ST § 59.1–515 >>

                                        § 59.1–515. Individual action for damages
A. Any natural person who is aggrieved by a violation of this chapter shall be entitled to initiate an action against any
responsible person to enjoin such violation and to recover from any responsible person damages in the amount of $500 for
each such violation.

B. If the court finds a willful violation, the court may, in its discretion, increase the amount of the award any damages awarded
under subsection A to an amount not exceeding $1,500.

C. Notwithstanding any other provision of law to the contrary, in addition to any damages awarded, such person may be awarded
under subsection A or B reasonable attorneys' attorney fees and court costs.

D. An action for damages, attorneys' attorney fees, and costs brought under this section may be filed in an appropriate
general district court or small claims court against any responsible person so long as the amount claimed does not exceed the
jurisdictional limits set forth in § 16.1–77 or § 16.1–122.2, as applicable. Any action brought under this section that includes
a request for an injunction shall be filed in an appropriate circuit court.


                                                    << VA ST § 59.1–516 >>

                                              § 59.1–516. Investigative authority
A. The Commissioner of the Department of Agriculture and Consumer Services, or his duly authorized representative, shall
have the power to inquire into possible violations of this chapter, and to request, but not to require, an appropriate legal official
to bring an action under § 59.1–517 with respect to such violation.




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  Case 1:20-cv-00532-LO-MSN Document 20-3 Filed 07/22/20 Page 3 of 3 PageID# 154
TELEPHONE—SOLICITATION—JOINT AND SEVERAL..., 2019 Virginia Laws...


B. Whenever the Attorney General has reasonable cause to believe that any person has engaged in, is engaging in, or is about to
engage in any violation of this chapter, the Attorney General is empowered to issue a civil investigative demand. The provisions
of § 59.1–9.10 shall apply mutatis mutandis to civil investigative demands issued pursuant to this section.


                                                   << VA ST § 59.1–517 >>

                                          § 59.1–517. Enforcement; civil penalties
A. The Attorney General, an attorney for the Commonwealth, or the attorney for any county, city or town locality may cause
an action to be brought in the name of the Commonwealth or of the county, city or town locality, as applicable, to enjoin
any violation of this chapter by any responsible person and to recover from any responsible person damages for aggrieved
persons in the amount of $500 for each such violation.

B. If the court finds a willful violation, the court may, in its discretion, also award assess against any responsible person a
civil penalty of not more than $1,000 for each such violation.

C. In any action brought under this section, the Attorney General, the attorney for the Commonwealth, or the attorney for
the county, city or town locality may recover reasonable expenses incurred by the state or local agency in investigating and
preparing the case, and attorneys' attorney fees.

D. Any civil penalties awarded assessed under this section subsection B in an action brought in the name of the
Commonwealth shall be paid into the Literary Fund. Any civil penalties awarded assessed under this section subsection
B in an action brought in the name of a county, city or town locality shall be paid into the general fund of the county, city
or town locality.



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